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                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
            Paula Perteet
 In re      Willie Perteet                                                                              Case No.   18-11692
                                                                                   Debtor(s)            Chapter    13



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on September 14, 2018, a copy of Motion to Borrow, Notice of Hearing, Responses due by
9/25/18    was served electronically or by regular United States mail to all interested parties, the Trustee and all
creditors listed below.

 1st Franklin
 PO Box 1309
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 ACS Education Service
 PO Box 7051
 Utica, NY 13504-7051
 Acs/mheac
 501 Bleecker St
 Utica, NY 13501
 American Express
 PO Box 981535
 El Paso, TX 79998-1535
 Amex
 Correspondence
 PO Box 981540
 El Paso, TX 79998
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 230 W Washington St
 Kosciusko, MS 39090-3635
 Bank Of America
 Nc4-105-03-14
 PO Box 26012
 Greensboro, NC 27410
 Bank Of America
 ATTN: Bankruptcy Dept.
 PO Box 982236
 El Paso, TX 79998-2236
 Bank Of America
 Nc4-105-03-14
 PO Box 26012
 Greensboro, NC 27410
 Barclays Bank Delaware
 100 S West St
 Wilmington, DE 19801
 Barclays Bank Delaware
 Card Services
 PO Box 8802
 Wilmington, DE 19899-8802
 Barclays Bank Delaware
 PO Box 8803
 Wilmington, DE 19899
 BB&T
 Attn: Bankruptcy
 PO Box 1847
 Wilson, NC 27894

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 Best Buy
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 PO Box 5893
 Carol Stream, IL 60197-5893
 Best Buy
 Retail Services
 PO Box 5893
 Carol Stream, IL 60197-5893
 Capital One
 Attn: Bankruptcy
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 Salt Lake City, UT 84130
 Capital One
 Attn: General Correspondence/Bankruptcy
 PO Box 30285
 Salt Lake City, UT 84130
 Capital One/Best Buy
 Attn: Correspondence
 Po Box 30285
 Salt Lake City, UT 84130
 Carico Intl
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 Fort Lauderdale, FL 33309
 Chase
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 Wilmington, DE 19850
 Chase Card Services
 Attn: Correspondence Dept
 PO Box 15298
 Wilmington, DE 19850
 Childrens Place/Citicorp Credit Services
 Attn: Citicorp Credit Services
 PO Box 20507
 Kansas City, MO 64195
 Citibank
 Citicorp Credit
 Centralized Bankruptcy
 PO Box 790040
 Saint Louis, MO 63179
 Citibank/Goodyear
 Citicorp Credit Srvs/Centralized Bankrup
 PO Box 790040
 St. Louis, MO 63179
 Citibank/Sears
 Citicorp Credit Srvs/Centralized Bankrup
 PO Box 490040
 St. Louis, MO 63179
 Citicards Cbna
 Citicorp Credit Svc/Centralized Bankrupt
 PO Box 790040
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 P O Box 911
 Meridian, MS 39302
 Citz Nat Bk
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 Comenity Bank/Lane Bryant
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 Columbus, OH 43218
 Comenity Bank/Lane Bryant
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 Comenity Capital/mprc
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 Dillards Card Srvs/Wells Fargo Bank Na
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 Salt Lake City, UT 84130-0943
 Discover Financial Services, LLC
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 Wilmington, DE 19850
 Discover Personal Loan
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 Olathe, KS 66063-3330
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 Kay Jewelers
 Attn: Bankruptcy
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 Lending Club Corp
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 Sterling Jewelers, Inc/Attn: Bankruptcy
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 Bankruptcy Processing

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 Wilkes Barre, PA 18773-9500
 Sallie Mae
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 Wilkes Barre, PA 18773-9500
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 Charlotte, NC 28258-0229
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 Attn: Bankruptcy
 4315 Pickett Rd
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 Saint Joseph, MO 64503
 Synchrony Bank
 Attn: Bankruptcy Department
 PO Box 965060
 Orlando, FL 32896
 Synchrony Bank
 PO Box 965036
 Orlando, FL 32896
 Synchrony Bank
 Attn: Bankruptcy
 PO Box 965060
 Orlando, FL 32896
 Synchrony Bank
 Attn: Bankruptcy
 PO Box 965060
 Orlando, FL 32896
 Synchrony Bank
 Attn: Bankruptcy
 PO Box 965060
 Orlando, FL 32896
 Synchrony Bank/ JC Penneys
 Attn: Bankruptcy
 PO Box 965060
 Orlando, FL 32896
 Synchrony Bank/ JC Penneys
 Attn: Bankruptcy
 PO Box 965060
 Orlando, FL 32896
 Synchrony Bank/Care Credit
 Attn: Bankruptcy
 PO Box 965060
 Orlando, FL 32896
 Synchrony Bank/Lowes
 Attn: Bankruptcy
 Po Box 965060
 Orlando, FL 32896
 Synchrony Bank/PayPal Cr
 Attn: Bankruptcy
 PO Box 965060
 Orlando, FL 32896
 Synchrony Bank/Sams
 Attn: Bankruptcy
 PO Box 965060
 Orlando, FL 32896
 Target
 Target Card Services
 Mail Stop NCB-0461
 Minneapolis, MN 55440
 Target
 Target Card Services
 Mail Stop NCB-0461
 Minneapolis, MN 55440
 Target
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 Minneapolis, MN 55440
 Target Card Services
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 Brandon, MS 39043
 Tower Loan
 Attn: Bankruptcy
 406 Liberty Park Court
 Flowood, MS 39232
 Tower Loan
 PO Box 320001
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 Tower Loan
 Attn: Bankruptcy
 406 Liberty Park Court
 Flowood, MS 39232
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